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        UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF PUERTO RICO

   IN RE
   JUAN C. PRADO NICASIO                                  BANKRUPTCY 19-06224 MCF
   SSN #3397
   Debtor                                                 CHAPTER 13

   JUAN CARLOS PRADO NICASIO                              ADVERSARY NO. 19-00462
   Plaintiff

   vs

   DIONISIO BENITEZ RODRÍGUEZ a/k/a
   d/b/a FERRETERÍA MONTALVO,
   FERRETERÍA MONTALVO INC.
   MARILIN PRADO NICASIO
   BANCO POPULAR DE PUERTO RICO

   Defendants


         MOTION TO INFORM RULE 2004 PRODUCTION HAS BEEN ANSWERED
               BY CO-DEFENDANT DIONISIO BENITEZ RODRIGUEZ


   TO THE HONORABLE COURT:
          COMES NOW co-defendant Dionisio Benitez Rodríguez, who respectfully informs this Court of
   his Answer to Rule 2004 Production served on him by Plaintiff, as follows:

          1.   On January 12, 2021, Plaintiff through his counsel served co-defendant with a Rule 2004
               Production. Refer to doc #45.

          2. Although we had held back in answering the Rule 2004 Production in waiting for our Rule
               2004 Production served on debtor since December 6, 2019, to be answered first, we now have
               under the circumstances of undue and unreasonable delay in answering our Production,
               reconsidered and today have proceeded to respond, notwithstanding our still pending Answer
               to our Production. Refer to doc #19 in the legal bankruptcy case 19-06224.

          3. On this same date, we have submitted our Answer to Plaintiff through his counsel.

          4. On this same date, we have also once again followed up on the partially unanswered Rule 2004
               Production served on debtor 16 months ago via letter once again detailing what little has been


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            received from debtor and with more detail, what has not been received from the Rule 2004
            Production.

            WHEREFORE, co-defendant herein informs his Answer to Rule 2004 Production and further
      informs that his Rule 2004 remains unanswered and incomplete.

                              CERTIFICATION OF PERSONAL SERVICE

               On this same date of April 2, 2021, I have filed this motion with the Court and on
      information and belief the CmEcf electronic noticing system will electronically notice a copy of the
      same to the debtor through his counsel, Ms. Ada M. Conde, Esq. at 1611lawandjustice@gmail.com ,
      counsel for plaintiff and other participants of CmEcf.
             In Caguas, Puerto Rico, this April 2, 2021


                                                    s/LA Morales
                                                    LYSSETTE A MORALES VIDAL
                                                    USDC PR #120011

                                                    L. A. MORALES & ASSOCIATES PSC
                                                    URB VILLA BLANCA
                                                    #76 AQUAMARINA STREET
                                                    CAGUAS PR 00725-1908
                                                    TEL. (787)746-2434 eFAX 855-298-2515
                                                    E-mail: lamoraleslawoffice@gmail.com &
                                                    irma.lamorales@gmail.com

                                                    For co-defendant Dionisio Benítez Rodríguez




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